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AO 450 (Rev. 01/09) Judgment in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                           for the
                                             MIDDLE DISTRICT of PENNSYLVANIA
                                                                                     )
                          CHRISTINE WOODS,
                                     Plaintiff                                       )
                                        v.                                           )     Civil Action No.           4:17-CV-0756

                          CLINTON COUNTY,                                            )           (Chief Judge Conner)

                                   Defendant                                         )

                                                          JUDGMENT IN A CIVIL ACTION


The court has ordered that (check one):
9    the plaintiff                                                                                                recover from the
defendant (name)                                                                                                     the amount of
                                                                                dollars ($                       ), which includes prejudgment
interest at the rate of                           %, plus postjudgment interest at the rate of                   %, along with costs.
9       the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                                                                  recover costs from the plaintiff (name)
                                                                                  .

x    other:      SUM MARY JUDGMENT be and is hereby ENTERED in favor of defendant CLINTON COUNTY, and against
                 plaintiff CHRISTINE WOODS, as to plaintiff’s claims for failure to promote and constructive discharge under the
                 Americans with Disabilities Act (Count I) and Pennsylvania Human Relations Act (Count II), in accordance with
                 the court’s order (Doc. 22), dated March 27, 2019.



This action was (check one):
9 tried by a jury with Judge or Magistrate Judge                                                            presiding, and the jury has
rendered a verdict.

9     tried by Judge or Magistrate Judge                                                         without a jury and the above decision

X     decided by Judge or Magistrate Judge                                 Chief Judge Christopher C. Conner

                       MOTION FOR SUMMARY JUDGMENT

Date:                       Mar 27, 2019                                     CLERK OF COURT PETER WELSH, Acting Clerk of Court

                                                                                                         K. McKinney

                                                                                                 Signature of Clerk or Deputy Clerk
